                             Case 20-10553-CSS                     Doc 1        Filed 03/08/20             Page 1 of 12


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                ☐ Check if this is an
Case number (if known):                                     Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                  04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                             Art Van Furniture, LLC



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                 XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                  Mailing address, if different from principal place
                                                                                                    of business
                                       6500 East 14 Mile Road
                                       Number             Street                                    Number         Street


                                                                                                    P.O. Box
                                       Warren, Michigan 48092
                                       City                             State      Zip Code         City                         State     Zip Code

                                                                                                    Location of principal assets, if different from
                                                                                                    principal place of business
                                       Macomb County
                                       County                                                       Number         Street




                                                                                                    City                         State     Zip Code




5. Debtor’s website (URL)              www.artvan.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1




     13146121
                               Case 20-10553-CSS               Doc 1         Filed 03/08/20            Page 2 of 12
Debtor            Art Van Furniture, LLC                                           Case number (if known)
           Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           4421 (Furniture Stores)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the
   debtor filing?                          ☐ Chapter 7

                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:

                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return, or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           ☐ Chapter 12
9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.     District                           When                       Case number
   within the last 8 years?                                                                   MM/DD/YYYY
     If more than 2 cases, attach a               District                           When                       Case number
     separate list.                                                                           MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                   Relationship     Affiliate
                                                  Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                      District    District of Delaware
     List all cases. If more than 1,                                                                            When             03/08/2020
     attach a separate list.                     Case number, if known _______________________                                   MM / DD / YYYY



     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                                 Case 20-10553-CSS                    Doc 1      Filed 03/08/20             Page 3 of 12
    Debtor           Art Van Furniture, LLC                                            Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☐   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal
        property that needs                          Why does the property need immediate attention? (Check all that apply.)
        immediate attention?
                                                     ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?
                                                     ☐    It needs to be physically secured or protected from the weather.

                                                     ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                          (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                          options).
                                                     ☐    Other


                                                     Where is the property?
                                                                                         Number          Street



                                                                                         City                                 State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.    Insurance agency

                                                               Contact name
                                                               Phone




                           Statistical and administrative information

    13. Debtor's estimation of           Check one:
        available funds
                                         ☒ Funds will be available for distribution to unsecured creditors.
                                         ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of              ☐      1-49                      ☐     1,000-5,000                        ☐    25,001-50,000
        creditors 1                      ☐      50-99                     ☐     5,001-10,000                       ☒    50,001-100,000
                                         ☐      100-199                   ☐     10,001-25,000                      ☐    More than 100,000
                                         ☐      200-999



    15. Estimated assets                 ☐      $0-$50,000                ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                         ☐      $50,001-$100,000          ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                         ☐      $100,001-$500,000         ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                         ☐      $500,001-$1 million       ☒     $100,000,001-$500 million           ☐   More than $50 billion




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                            Case 20-10553-CSS                   Doc 1         Filed 03/08/20           Page 4 of 12
Debtor           Art Van Furniture, LLC                                            Case number (if known)
          Name



16. Estimated liabilities           ☐     $0-$50,000                  ☐    $1,000,001-$10 million                  ☐    $500,000,001-$1 billion
                                    ☐     $50,001-$100,000            ☐    $10,000,001-$50 million                 ☐    $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000           ☐    $50,000,001-$100 million                ☐    $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million         ☒    $100,000,001-$500 million               ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of      petition.
    debtor
                                      I have been authorized to file this petition on behalf of the debtor.
                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                      correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on         03/08/2020
                                                           MM/ DD / YYYY


                                            /s/ David Ladd                                                    David Ladd
                                           Signature of authorized representative of debtor               Printed name

                                           Title    Chief Financial Officer




18. Signature of attorney                   /s/ Michael J. Barrie                                           Date         03/08/2020
                                           Signature of attorney for debtor                                            MM/DD/YYYY



                                           Michael J. Barrie

                                           Benesch, Friedlander, Coplan & Aronoff LLP
                                           Firm name
                                           Suite 801                 222 Delaware Avenue
                                           Number                    Street
                                           Wilmington                                                              Delaware           19801
                                           City                                                                    State                ZIP Code
                                           (302)-442-7010                                                          mbarrie@beneschlaw.com
                                           Contact phone                                                              Email address
                                           4684                                               Delaware
                                           Bar number                                          State




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Art Van Furniture, LLC.



  Art Van Furniture, LLC
  Art Van Furniture of Canada, LLC
  AV Pure Sleep Franchising, LLC
  AVCE, LLC
  AVF Franchising, LLC
  AVF Holding Company, Inc.
  AVF Holdings I, LLC
  AVF Holdings II, LLC
  AVF Parent, LLC
  Levin Parent, LLC
  LF Trucking, Inc.
  Sam Levin, Inc.
  Comfort Mattress, LLC
                  Case 20-10553-CSS           Doc 1        Filed 03/08/20    Page 6 of 12



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    ART VAN FURNITURE, LLC,                            )      Case No. 20-________ (___)
                                                       )
                             Debtor.                   )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS 1

             Debtor               Equity Holders             Address of Equity Holder      Percentage of
                                                                                            Equity Held
                                                           6500 East 14 Mile Road
    Art Van Furniture, LLC     AVF Parent, LLC                                                 100%
                                                           Warren, Michigan 48092




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 20-10553-CSS           Doc 1         Filed 03/08/20   Page 7 of 12



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 ART VAN FURNITURE, LLC                               )      Case No. 20-________ (___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                             Approximate Percentage of Shares Held

     AVF Parent, LLC                                                             100%
                  Case 20-10553-CSS           Doc 1       Filed 03/08/20   Page 8 of 12



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                      )
    In re:                                            )      Chapter 11
                                                      )
    ART VAN FURNITURE, LLC                            )      Case No. 20-___________(___)
                                                      )
                           Debtor.                    )
                                                      )


                                 CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United
States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors
in possession (collectively, the “Debtors”) 1 hereby certify that the Creditor Matrix submitted herewith
contains the names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the
Creditor Matrix is complete, correct, and consistent with Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records as of
the petition date. However, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the listing does
not, and should not, be deemed to constitute: (1) a waiver of any defense to any listed claims; (2) an
acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
position of the Debtors.




1             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC
    (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
    (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC
    (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the
    Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
                           Case 20-10553-CSS                         Doc 1   Filed 03/08/20           Page 9 of 12



    Fill in this information to identify the case and this filing:

   Debtor Name          Art Van Furniture, LLC

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                       List of Equity Security Holders, Corporate Ownership
            Statement, and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                 /s/ David Ladd
                                        03/08/2020
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 David Ladd
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
                                              Case 20-10553-CSS                        Doc 1          Filed 03/08/20              Page 10 of 12



     Fill in this information to identify the case:
     Debtor name Art Van Furniture, LLC et al.
     United States Bankruptcy Court for the: District of Delaware
     Case number (If known): ___________                                                                                                  Check if this is an
                                                                                                                                           amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not Insiders                                            12/15
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
     the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
     not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
     among the holders of the 30 largest unsecured claims.
     Name of creditor and complete mailing address,      Name, telephone number, and email            Nature of the claim Indicate if claim   Amount of unsecured claim
     including zip code                                  address of creditor contact                   (for example, trade   is contingent,   If the claim is fully unsecured, fill in only unsecured
                                                                                                       debts, bank loans, unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                                      professional services,    disputed      total claim amount and deduction for value of
                                                                                                         and government                       collateral or setoff to calculate unsecured claim.
                                                                                                            contracts)
                                                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                                                              partially         value of           claim
                                                                                                                                              secured           collateral or
                                                                                                                                                                setoff
                                                         Attn: Alan Sussman
   The Sussman Agency
                                                         Title: President
   29200 Northwestern Highway
 1                                                       Phone: (248) 353-5300                           Trade Payable                                                              $     7,818,533
   Suite 130
                                                         Email: alan@thesussmanagency.com
   Southfield, MI 48094
                                                         Fax: (248) 353-3800
                                                         Attn: Darrell Edwards
                                                         Title: Senior Vice President & Chief
     La-Z-Boy Chair Company
                                                         Operating Officer
 2 One La-Z-Boy Drive                                                                                    Trade Payable                                                              $     5,195,593
                                                         Phone: (734) 242-1444
     Monroe, MI 48162
                                                         Email: darrell.edwards@la-z-boy.com
                                                         Fax: (734) 457-2005

                                                         Attn: Scott Thompson
     Sealy Mattress Company
                                                         Title: Chief Executive Officer
 3 1 Office Parkway Sealy Drive                                                                          Trade Payable                                                              $     4,139,554
                                                         Phone: (336) 861-3500
     Trinity, NC 27370
                                                         Email: scott.thompson@tempursealy.com

   Kuka (HK) Trade Co., Limited
   RM 6 13A/F World Finance Ctr
 4 Harbour City South Twr                                Phone: (+852) 2577-7721                         Trade Payable                                                              $     3,818,838
   17 Canton Road
   Tsim Sha Tsui, Hong Kong
                                                         Attn: Gene Pierce
                                                         Title: Vice President of Manufacturing
   United Furniture Industries
                                                         Phone: (662) 447-4135
 5 5380 Highway 145 South                                                                                Trade Payable                                                              $     3,292,758
                                                         Email:
   Tupelo, MS 38801
                                                         pierce@unitedfurnituresantarosa.com
                                                         Fax: (662) 447-0103
                                                         Attn: Jerry Dittmer
     Flexsteel Industries Inc.                           Title: President & Chief Executive Officer
 6 385 Bell Street                                       Phone: (563) 556-7730                           Trade Payable                                                              $     3,026,863
     Dubuque, IA 52001                                   Email: jdittmer@flexsteel.com
                                                         Fax: (563) 556-8345

     Simmons Manufacturing Company, LLC                  Attn: David Swift
     1 Concourse Parkway Northeast                       Title: Chairman & Chief Executive Officer
 7                                                                                                       Trade Payable                                                              $     2,907,759
     Suite 800                                           Phone: (877) 399-9397
     Atlanta, GA 30328                                   Email: dswift@sertasimmons.com




Official Form 204                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 1
                                          Case 20-10553-CSS                          Doc 1         Filed 03/08/20             Page 11 of 12
Debtor Art Van Furniture, LLC et al.,                                                                                     Case number (if known)_____________________________________




     Name of creditor and complete mailing address,   Name, telephone number, and email            Nature of the claim Indicate if claim   Amount of unsecured claim
     including zip code                               address of creditor contact                   (for example, trade   is contingent,   If the claim is fully unsecured, fill in only unsecured
                                                                                                    debts, bank loans, unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                                   professional services,    disputed      total claim amount and deduction for value of
                                                                                                      and government                       collateral or setoff to calculate unsecured claim.
                                                                                                         contracts)
                                                                                                                                           Total claim, if   Deduction for      Unsecured
                                                                                                                                           partially         value of           claim
                                                                                                                                           secured           collateral or
                                                                                                                                                             setoff
                                                      Attn: Scott Thompson
                                                      Title: Chairman, President & Chief
     Tempur-Pedic Inc.
                                                      Executive Officer
 8 1000 Tempur Way                                                                                    Trade Payable                                                              $     2,397,139
                                                      Phone: (336) 861-3500
     Lexington, KY 40511
                                                      Email: scott.thompson@tempursealy.com
                                                      Fax: (859) 514-4422
                                                      Attn: Roger Bland
     Southern Motion Inc.
                                                      Title: Chief Executive Officer
     298 Henry Southern Drive
 9                                                    Phone: (662) 488-4007                           Trade Payable                                                              $     2,378,693
     P.O. Box 1064
                                                      Email: rbland@southernmotion.com
     Pontotoc, MS 38863
                                                      Fax: (662) 488-4000
                                                      Attn: Scott Thompson
     Stearns & Foster Company                         Title: Chairman, President & Chief
 10 1000 Tempur Way                                   Executive Officer                               Trade Payable                                                              $     2,366,240
     Lexington, KY 40511                              Phone: (336) 861-3500
                                                      Email: scott.thompson@tempursealy.com

                                                      Attn: Joe A. Tarrant Jr.
    H M Richards Inc.                                 Title: Vice President of Operations
 11 414 Co Road 2790                                  Phone: (662) 365-9485                           Trade Payable                                                              $     2,063,173
    Guntown, MS 38849                                 Email: jtarrant@hmrichards.com
                                                      Fax: (662) 365-9490

                                                      Attn: Hassell Franklin
    Franklin Corporation                              Title: Chief Executive Officer
 12 600 Franklin Drive                                Phone: (662) 456-4286                           Trade Payable                                                              $     1,911,637
    Houston, MS 38851                                 Email: hassellfranklin@franklincorp.com
                                                      Fax: (662) 456-3156
                                                      Attn: Detlef Trefzger
     Kuehne & Nagel Inc.                              Title: Chief Executive Officer
 13 Exchange PI 10                                    Phone: (210) 413-5500                           Trade Payable                                                              $     1,896,522
     Jersey City, NJ 07302-3920                       Email: detlef.trefzger@kuehne-nagel.com
                                                      Fax: (201) 413-5777
                                                      Attn: Bob Malin
     Serta Restokraft Mattress Co.                    Title: Vice President
 14 38025 Jaykay Drive                                Phone: (734) 727-9000                           Trade Payable                                                              $     1,749,982
     Romulus, MI 48174                                Email: bmalin@serta.com
                                                      Fax: (734) 326-1525

     England Furniture Inc.
                                                      Phone: (423) 626-5211
 15 145 England Drive                                                                                 Trade Payable                                                              $     1,732,285
                                                      Fax: (423) 626-9641
     New Tazewell, TN 37825

                                                      Attn: Todd Wanek
    Ashley Furniture Industries, Inc.                 Title: President & Chief Executive Officer
 16 1 Ashley Way                                      Phone: (608) 323-3377                           Trade Payable                                                              $     1,506,565
    Arcadia, WI 54612-1218                            Email: twanek@ashleyfurniture.com
                                                      Fax: (608) 323-6139
                                                      Attn: Simon Lichtenberg
     Simon Li Furniture
                                                      Title: Chief Executive Officer
 17 200 E. Commerce Avenue                                                                            Trade Payable                                                              $     1,504,196
                                                      Phone: (336) 822 2710
     High Point, NC 27260
                                                      Email: simonli@trayton.com
                                                      Attn: Thomas McLean
     Kingsdown Inc.
                                                      Title: Executive Vice President
 18 126 W. Holt Street                                                                                Trade Payable                                                              $     1,452,729
                                                      Phone: (919) 563-3531
     Mebane, NC 27302-2622
                                                      Email: tmclean@kingsdown.com

                                                      Attn: Bo Robbins
     Fusion Furniture Inc.
                                                      Title: President
 19 957 Pontotoc County Industrial Pkwy                                                               Trade Payable                                                              $     1,326,778
                                                      Phone: (662) 489-1296
     Ecru, MS 38841
                                                      Email: brobbins@fusionfurnitureinc.com




Official Form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                   Page 2
                                                      Case 20-10553-CSS                                  Doc 1              Filed 03/08/20                       Page 12 of 12
Debtor Art Van Furniture, LLC et al.,                                                                                                                      Case number (if known)_____________________________________




      Name of creditor and complete mailing address,                Name, telephone number, and email                       Nature of the claim Indicate if claim      Amount of unsecured claim
      including zip code                                            address of creditor contact                              (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                                                             debts, bank loans, unliquidated, or       claim amount. If claim is partially secured, fill in
                                                                                                                            professional services,    disputed         total claim amount and deduction for value of
                                                                                                                               and government                          collateral or setoff to calculate unsecured claim.
                                                                                                                                  contracts)
                                                                                                                                                                       Total claim, if   Deduction for      Unsecured
                                                                                                                                                                       partially         value of           claim
                                                                                                                                                                       secured           collateral or
                                                                                                                                                                                         setoff

      Elite Rewards
 20 5111 Central Avenue                                             Phone: (727) 290-2472                                       Trade Payable                                                                $     1,323,676
      St. Petersburg, FL 33710

                                                                    Attn: Jason Brian
    Liberty Furniture Industries Inc.
                                                                    Title: Executive Vice President
 21 6021 Greensboro Drive                                                                                                       Trade Payable                                                                $     1,140,744
                                                                    Phone: (404) 629-1003
    Atlanta, GA 30336
                                                                    Email: jasonbrian@libertyfurn.com

                                                                    Attn: Tim Ussery
      Standard Furniture Manufacturing, LLC
                                                                    Title: President
 22 801 US-31                                                                                                                   Trade Payable                                                                $     1,090,297
                                                                    Phone: (251) 937-6741
      Bay Minette, AL 36507
                                                                    Email: tim.ussery@sfmco.com
                                                                    Attn: Martin Rawls-Meehan
    Ascion LLC                                                      Title: President & Chief Executive Officer
 23 750 Denison Court                                               Phone: (248) 409-5656                                       Trade Payable                                                                $     1,089,345
    Bloomfield Hills, MI 48302                                      Email: martin@reverie.com
                                                                    Fax: (248) 409-5657
      A-America, Inc.                                               Attn: Fred G. Rohrbach
 24 800 Milwaukee Avenue N.                                         Title: Chief Executive Officer                              Trade Payable                                                                $     1,034,630
      Algona, WA 98001                                              Phone: (206) 575-3044
                                                                    Attn: Mike Cimarusti
      Michael Nicholas Designs
                                                                    Title: Chief Executive Officer
 25 2330 Raymer Avenue                                                                                                          Trade Payable                                                                $       946,875
                                                                    Phone: (714) 562-8101
      Fullerton, CA 92336
                                                                    Email: mcimarusti@mndca.com

                                                                    Attn: Frank Torre
    Signal Restoration Services
                                                                    Title: Managing Partner
 26 2490 Industrial Row Drive                                                                                                   Trade Payable                                                                $       946,567
                                                                    Phone: (248) 288-6300
    Troy, MI 48084
                                                                    Email: ftorre@signalrestoration.com

                                                                    Attn: Mitch Markowitz
                                                                    Title: Chief Executive Officer
    New Classic Furniture
                                                                    Phone: (909) 484-7676
 27 7351 McGuire Blvd.                                                                                                          Trade Payable                                                                $       834,149
                                                                    Email:
    Fontana, CA 92336
                                                                    mitch.markowitz@newclassicfurniture.com
                                                                    Fax: (909) 484-2840
                                                                    Attn: Larry Gentry
      Max Home LLC
                                                                    Title: Chief Financial Officer
 28 101 Max Place                                                                                                               Trade Payable                                                                $       819,998
                                                                    Phone: (662) 862-9966
      Fulton, MS 38843
                                                                    Fax: (662) 862-9969

      Jackson Furniture / Catnapper                                 Attn: W. Ronald Jackson
 29 1910 King Edward Avenue                                         Title: President                                            Trade Payable                                                                $       784,567
      Cleveland, TN 37311                                           Phone: (423) 476-8544

      Bedgear, LLC                                                  Attn: Eugene Alletto
      100 Bi-County Blvd.                                           Title: Chief Executive Officer
 30                                                                                                                             Trade Payable                                                                $       763,084
      Suite 101                                                     Phone: (631) 414-7758
      Farmingdale, NY 11735                                         Email: ealletto@bedgear.com

Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                 Page 3
